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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

SEAKEEPER INC.                                    )
                                                  )
                         Plaintiff,               )
                                                  )
         v.                                       )    C.A. No. 25-484-JCB
                                                  )
DOMETIC CORPORATION,                              )
                                                  )
                         Defendant.               )


                                      STIPULATED ORDER

         IT IS HEREBY STIPULATED by Plaintiff Seakeeper Inc. and Defendant Dometic

Corporation, subject to the approval and Order of the Court, that the deadline for Defendant to

move, answer, or otherwise respond to the Complaint shall be extended to June 12, 2025. This

extension shall not effect or delay, nor be argued to effect or asserted in support of a delay of,

proceedings on Plaintiff’s separate Motion for Preliminary Injunction.


RICHARDS, LAYTON & FINGER, P.A.                       ASHBY & GEDDES

/s/ Kelly E. Farnan                                   /s/ Andrew C. Mayo
__________________________
Kelly E. Farnan (#4395)                               Andrew C. Mayo (#5207)
Christine D. Haynes (#4697)                           Brian A. Biggs (#5591)
One Rodney Square                                     500 Delaware Avenue, 8th Floor
920 North King Street                                 PO Box 1150
Wilmington, DE 19801                                  Wilmington, DE 19899
(302) 651-7700                                        (302) 654-1888
farnan@rlf.com                                        amayo@ashbygeddes.com
haynes@rlf.com                                        bbiggs@ashbygeddes.com

Attorney for Plaintiff                                Attorney for Defendant




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         SO ORDERED this ________ day of _____________, 2025.



                                  United States District Judge




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